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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                  Debtors. 1                          (Jointly Administered)
                                                                      Objection Deadline: October 20, 2023
     DECLARATION IN SUPPORT OF EMPLOYMENT OF PATENTREE LDA AS
      PROFESSIONAL UTILIZED IN THE ORDINARY COURSE OF BUSINESS

         I, Luis Humberto Silvestre de Almeida Ferreira, pursuant to 28 U.S.C. § 1746, declare that

the following is true to the best of my knowledge, information, and belief:

         I.      I am the owner of Patentree Lda, located at Rua de Salazares, 11°842, 4149-002

Porto, Portugal (the "Firm''), which has been employed by the debtors and debtors in possession

(collectively, the "Debtors") in the above-captioned cases (the "Chapter 11 Cases") in the ordinary

course of the Debtors' business. The Debtors wish to retain the Firm to continue providing

ordinary course services during the Chapter 11 Cases, and the Firm has consented to provide such

services.     This Declaration is submitted in compliance with the Order:                         (I) Authorizing

Employment and Payment (�/ Professionals Utilized in the Ordinary Course of Business; and

(11) Granting Related Relief(the "Ordinary Course Professionals Order").

                 2.       The Firm may have performed services in the past, may currently perform

services and may perform services in the future, in matters unrelated to the Chapter 11 Cases for

persons that are pai1ies in interest in the Chapter 11 Cases. The Firm does not perform services



    A complete list of each of the Debtors in these Chapter l l Cases may be obtained on the website of the Debtors'
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Jnc.'s principal
    place of business and the Debtors' service address in these Chapter l l Cases is 5885 Hollis Street, Suite I 00,
    Emeryville, CA 94608.
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